      Case 2:19-cv-00056-RMP           ECF No. 15   filed 10/03/19   PageID.119 Page 1 of 2




 1
                                                                                 FILED IN THE
                                                                             U.S. DISTRICT COURT
 2                                                                     EASTERN DISTRICT OF WASHINGTON




 3
                                                                        Oct 03, 2019
                                                                            SEAN F. MCAVOY, CLERK


 4

 5                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 6

 7    HALEY KARNITZ, an individual,
                                                      NO: 2:19-CV-56-RMP
 8                                Plaintiff,
                                                      ORDER OF DISMISSAL WITH
 9          v.                                        PREJUDICE

10    AMERICAN MEDICAL
      RESPONSE AMBULANCE
11    SERVICE, INC, a Delaware
      corporation,
12
                                  Defendant.
13

14         BEFORE THE COURT is a Stipulated Motion to Dismiss with Prejudice,

15   ECF No. 14. Having reviewed the Motion and the record, the Court finds good

16   cause to grant dismissal.

17         Accordingly, IT IS HEREBY ORDERED:

18         1. The Stipulated Motion to Dismiss with Prejudice, ECF No. 14, is

19               GRANTED.

20         2. Plaintiff’s Complaint is dismissed with prejudice and without fees or

21               costs to any party.


     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 2:19-cv-00056-RMP     ECF No. 15    filed 10/03/19   PageID.120 Page 2 of 2




 1         3. All pending motions, if any, are DENIED AS MOOT.

 2         4. All scheduled court hearings, if any, are STRICKEN.

 3         IT IS SO ORDERED. The District Court Clerk is directed to enter this

 4   Order, enter judgment of dismissal with prejudice, provide copies to counsel, and

 5   close this case.

 6         DATED October 3, 2019.

 7
                                                s/ Rosanna Malouf Peterson
 8                                          ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
